Case 23-12825-MBK        Doc 713     Filed 06/06/23 Entered 06/06/23 21:58:44            Desc Main
                                   Document      Page 1 of 15



 UNITED STATES DEPARTMENT OF JUSTICE
 OFFICE OF THE UNITED STATES TRUSTEE
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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW JERSEY
 ____________________________________
                                      : Case No. 23-12825 (MBK)
 In re:                               :
                                      : Chapter 11
                     1
 LTL Management LLC,                 :
                                     : The Honorable Michael B. Kaplan, Chief Judge
 Debtor.                             :
 ____________________________________: Hearing Date: June 13, 2023 @ 10:00 a.m.


       UNITED STATES TRUSTEE’S OBJECTION TO DEBTOR’S MOTION FOR
           AN ORDER AUTHORIZING IT TO ENTER INTO AN EXPENSE
          REIMBURSEMENT AGREEMENT WITH AD HOC COMMITTEE
                        OF SUPPORTING COUNSEL


        Andrew R. Vara, the United States Trustee for Region 3 (the “U.S. Trustee”), by his

 undersigned counsel, and in furtherance of his duties pursuant to 28 U.S.C. §§ 586(a)(3) and (5),

 hereby files this objection (the “Objection”) to the Debtor’s Motion for an Order Authorizing it to

 Enter into an Expense Reimbursement Agreement with Ad Hoc Committee of Supporting Counsel

 (the “Motion”). See Dkt. 575. In support thereof, the U.S. Trustee states as follows:




 1
   The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s
 address is 501 George Street, New Brunswick, New Jersey 08933.
Case 23-12825-MBK            Doc 713     Filed 06/06/23 Entered 06/06/23 21:58:44          Desc Main
                                       Document      Page 2 of 15



                                           JURISDICTION

        1.      Under (i) 28 U.S.C. § 1334, (ii) applicable order(s) of the United States District

 Court for the District of New Jersey issued pursuant to 28 U.S.C. § 157(a), and (iii) 28 U.S.C. §

 157(b)(2), this Court has jurisdiction to hear and determine this Objection.

        2.      Pursuant to 28 U.S.C. § 586(a)(3), the U.S. Trustee is charged with administrative

 oversight of the bankruptcy system in this District. Such oversight is part of the “U.S. Trustee’s

 overarching responsibility to enforce the laws as written by Congress and interpreted by the courts.

 See United States Trustee v. Columbia Gas Systems, Inc. (In re Columbia Gas Systems, Inc.), 33

 F.3d 294, 295-96 (3d Cir. 1994) (noting that the “U.S. Trustee has “public interest standing” under

 11 U.S.C. § 307 which goes beyond mere pecuniary interest).

        3.      Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on the issues

 raised in this Objection.

                                  PRELIMINARY STATEMENT

        4.      The U.S. Trustee objects to the Debtor’s request for authority to pay the fees and

 expenses of an ad hoc committee pursuant to Bankruptcy Code Section 363.              Through the

 Motion, the Debtor seeks authority to enter into a post-petition expense reimbursement agreement

 (the “Reimbursement Agreement”) and to pay not only the fees and expenses of the AHC’s (as

 defined below) bankruptcy and local counsel, but also the out of pocket expenses of the fifteen

 law firms that are the members of the AHC. (See Motion, ¶12).

       5.       Section 503(b) of the Bankruptcy Code is the “exclusive avenue for payment of

 administrative expenses,” In re Lehman Bros. Holdings, Inc., 508 B.R. 283, 289 (S.D.N.Y.

 2014), and Section 503(b)(3) is the specific and sole authority for an estate to pay the legal fees

 and expenses of an unsecured creditor. That section requires the court to find that the creditor


                                                  2
Case 23-12825-MBK         Doc 713     Filed 06/06/23 Entered 06/06/23 21:58:44            Desc Main
                                    Document      Page 3 of 15



 made a substantial contribution to the case and that the fees and expenses are reasonable and to

 do so only after notice and a hearing. By definition, one cannot have a prospective claim for

 having made a substantial contribution. Because it is impossible to know now if the AHC will

 make a substantial contribution in this case, the Court should deny the Motion as legally improper

 and premature.

        6.      Although the Motion relies on Section 363 as authority to pay the legal and other

 professional fees, the general provisions of Section 363 of the Bankruptcy Code cannot be used

 to evade the specific provisions of Sections 503(b)(3) and (4). Simply put, a debtor cannot enter

 into an agreement that ignores or modifies the Code’s requirements for payment of substantial

 contribution claims and then ask a Court to approve the agreement modifying the Code.

 Accordingly, the Court should deny the Motion.

                           BACKGROUND AND RELEVANT FACTS

        7.      On April 4, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for

 relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the

 “Bankruptcy Code”). See Dkt. 1.

        8.      The Debtor continues to operate its business as a debtor in possession pursuant to

 11 U.S.C. §§ 1107 and 1108.

        9.      No trustee or examiner has been appointed in this chapter 11 case.

        10.     On April 14, 2023, the U.S. Trustee appointed an Official Committee of Talc

Claimant Creditors (the “TCC”). See Dkt. 162.

        11.       On May 9, 2023, law firms Paul Hastings LLP (“Paul Hastings”), Cole Schotz P.C.

 (“Cole Schotz”) and Parkins & Rubio LLP (“Parkins & Rubio”, and together with Paul Hastings

 and Cole Schotz, “AHC Counsel”) filed the Verified Statement of Paul Hastings LLP, Cole Schotz



                                                  3
Case 23-12825-MBK          Doc 713     Filed 06/06/23 Entered 06/06/23 21:58:44             Desc Main
                                     Document      Page 4 of 15



 P.C. and Parkins & Rubio LLP Pursuant to Bankruptcy Rule 2019 (the “Verified Statement”) in

 connection with their representation of the AHC. See Dkt. 470. As alleged therein, “the AHC

 …was formed to advance the common interests of the law firms, each of which has entered into a

 plan support agreement (each, a “PSA”) with the Debtor, Johnson & Johnson (“J&J”) and Johnson

 & Johnson Holdco (NA) Inc. (“Holdco”, and with the Debtor and J&J, the “J&J Parties”).” Id. at

 ¶1.

         12.     At the time the Verified Statement was filed, fifteen law firms made up the

 members of the AHC (the “AHC Law Firms”). 2 Id. at Exhibit A. AHC Counsel represents the

 AHC as a group – it does not represent the individual law firms who are members of the AHC nor

 does it represent their clients. Id. at ¶2.

         13.     The PSAs required that a plan containing the attached terms had to be filed by May

 14, 2023, or as soon thereafter as was feasible. See Declaration of John K. Kim in Support of First

 Day Pleadings, ¶73, Dkt. 4. On May 15, 2023, the Debtor filed its proposed Plan of Reorganization

 and Disclosure Statement (the “Proposed Plan”). See Dkts. 525 and 526.

         14.     The Debtor claims that pursuant to the terms of the PSAs, the AHC “is supportive

 of the Debtor’s proposed plan of reorganization, and each member of the AHC…intends to

 recommend that its respective clients vote in favor of the plan.” See Motion, ¶9. AHC Counsel,




 2
   Debtor claims the AHC members include “two former members of the Official Committee of
 Talc Claimants in the first bankruptcy case filed by the Debtor.” Motion, ¶8. This statement is
 not correct and reflects a misunderstanding regarding the identity of the actual creditors of Debtor’s
 estate. The TCC members in both the first LTL bankruptcy case and in this bankruptcy case are
 actual talc claimants who allege damages based on exposure to talc. While law firms are members
 of the AHC, they are NOT members of the TCC in this case, nor were they members of the TCC
 in LTL’s first bankruptcy case. They law firms are not LTL creditors. What is true is that two of
 the fifteen law firms each had a client who was appointed as a member of the TCC by the U.S.
 Bankruptcy Court for the Western District of North Carolina during Debtor’s first bankruptcy case.

                                                   4
Case 23-12825-MBK          Doc 713     Filed 06/06/23 Entered 06/06/23 21:58:44              Desc Main
                                     Document      Page 5 of 15



 however, has advised the Court that the AHC has “issues” with the Proposed Plan. See May 16,

 2023 Hr’g Tr. 21:13.

        15.      By its Motion, Debtor seeks approval of the Reimbursement Agreement attached

 thereto pursuant to Bankruptcy Code Section 363. In summary, the Reimbursement Agreement

 provides:

              a. The Debtor will pay (a) the reasonable and documented out-of-pocket expenses of
                 the AHC Law Firms) (the “AHC Law Firm Expenses”) and (b) the reasonable and
                 documented fees and out-of-pocket expenses of AHC Counsel that are currently or
                 will be retained by the AHC, including, without limitation, Paul Hastings, Cole
                 Schotz, and Parkins & Rubio (the “AHC Counsel Fees and Expenses”) for the
                 period of April 18, 2023 through the termination of the Reimbursement Agreement.
                 See Motion, ¶ 11.

              b. AHC Counsel will file monthly fee statements and interim and final fee applications
                 in accordance with the Court’s Order Establishing Procedures for Interim
                 Compensation and Reimbursement of Expenses of Retained Professionals [Dkt.
                 562] (the “Interim Compensation Order”). 3

              c. Either party can terminate the Reimbursement Agreement at any time and for any
                 reason by providing written notice to the other party, and such termination will be
                 effective ten business days following the delivery of the written notice. Id. at ¶ 15.

                                             ARGUMENT

      A. Section 503(b) is the Only Code Section Governing the Payment of an Ad Hoc
         Committee’s Fees and Expenses and Any Request for Substantial Contribution
         is Legally Premature Before the Case Concludes.

        16.      The proposed payments to the AHC Law Firms and AHC Counsel constitute

 compensation that is specifically governed by Sections 503(b)(3)(D) and (4) of the Bankruptcy

 Code. These sections govern payments to the professionals of ad hoc committees and individual

 creditors. See 11 U.S.C. § 503(b)(3)(D). 4


 3
   Neither the Motion nor the Reimbursement Agreement address the mechanism for payment of
 the AHC Law Firm Expenses.
 4
  In the Third Circuit, a creditor makes a substantial contribution if, and only if, its efforts provide
 an “actual and demonstrable benefit to the debtor’s estate and the creditors.” Lebron v. Mechem

                                                    5
Case 23-12825-MBK        Doc 713     Filed 06/06/23 Entered 06/06/23 21:58:44            Desc Main
                                   Document      Page 6 of 15



        17.     By enacting Section 503(b) of the Bankruptcy Code, Congress provided a specific

 procedure and standard for the allowance and approval of fees and expenses incurred by ad hoc

 committees and others in making a substantial contribution to a case. See 4 Collier on Bankruptcy

 at ¶ 503.04 (Alan N. Resnick & Henry J. Sommer eds., 16th ed.) (“Administrative expenses, except

 ordinary course expenses paid pursuant to Sections 363 and 364 of the Code, are allowed only

 after notice and a hearing and are not ‘deemed allowed’ but rather must be actually allowed by

 court order.”). Section 503 imposes detailed requirements that must be met before approval and

 payment, including the timely filing of a request for payment by the professional, see 11 U.S.C. §

 503(a); notice and a hearing before the court, see 11 U.S.C. § 503(b); a showing that such expenses

 were “actual” and “necessary,” see 11 U.S.C. § 503(b)(3); a showing that the creditor, unofficial

 committee, or indenture trustee has made a “substantial contribution” to the bankruptcy case, see

 11 U.S.C. § 503(b)(3)(D); and a finding by the court that any compensation paid to an attorney or

 accountant is “reasonable,” see 11 U.S.C. § 503(b)(4). Moreover, a party’s right to payment under

 Section 503(b) is not automatic but “depends upon the requesting party’s ability to show that the

 fees were actually necessary to preserve the value of the estate.” Calpine Corp. v. O'Brien Envtl.

 Energy, Inc. (In re O'Brien Envtl. Energy, Inc.), 181 F.3d 527, 535 (3d Cir.1999).

        18.     The fact that the payment of professional fees are proposed as part of the

 Reimbursement Agreement does not relieve the third-party professionals of their obligation to

 comply with the requirements of Section 503, which is the “sole source” of authority to pay post-




 Financial Inc., 27 F.3d 937, 943-44 (3d Cir. 1994) (citation omitted) (quoting In re Lister, 846
 F.2d 55, 57 (10th Cir. 1988)). Furthermore, to be compensable under Section 503(b)(3)(D), the
 creditor’s activity must have “benefit[ed] the estate as a whole.” See Lebron, 27 F.3d at 944.
 Activities “which were designed primarily to serve [the applicants’] own interests” are not
 compensable, because they “would have been undertaken absent an expectation of reimbursement
 from the estate.” Id.

                                                 6
Case 23-12825-MBK        Doc 713     Filed 06/06/23 Entered 06/06/23 21:58:44           Desc Main
                                   Document      Page 7 of 15



 petition professional fees on an administrative basis. Davis v. Elliot Management Corp. (In re

 Lehman Bros. Holdings Inc.), 508 B.R. 283, 290 (S.D.N.Y. 2014).

        19.     In Lehman, the court roundly rejected an attempt by certain committee members to

 circumvent Section 503(b)(4) by seeking payment under a “permissive” plan provision that

 purported to pay third-party professional fees without regard to whether they could be authorized

 under Section 503. As the court explained, plans pay only claims and administrative expenses:

        Although the Bankruptcy Code does not explicitly forbid payments [of] professional fees
        that are not administrative expenses, no such explicit prohibition is necessary.
        Reorganization plans exist to pay claims and expenses . . . Therefore, the Individual
        Members’ professional fee expenses are either administrative expenses or not, and if the
        latter, they cannot be paid under a plan.

 Id.at 293. Indeed, the court recognized that any contrary result “could lead to serious mischief,”

 because it would allow plan proponents to distribute the estate’s assets without regard to the

 Bankruptcy Code’s priority scheme. Id.

        20.     The allowance of attorney’s fees is an exception to “the bedrock principle known

 as the American Rule: Each litigant pays his own attorney’s fees, win or lose, unless a statute or

 contract provides otherwise.” Baker Botts L.L.P. v. ASARCO LLC, 576 U.S. 121, 126 (2015)

 (internal quotation marks omitted). The Supreme Court has recognized departures from the

 American Rule “only in specific and explicit provisions for the allowance of attorneys’ fees under

 selected statutes.” Id. (internal quotation marks omitted). “Section 503(b)(3)(D) represents an

 accommodation between the twin objectives of encouraging meaningful creditor participation in

 the reorganization process and keeping fees and administrative expenses at a minimum so as to

 preserve as much of the estate as possible for the creditors.” Lebron v. Mechem Fin. Inc., 27 F.3d

 937, 944 (3d Cir. 1994) (internal quotation marks and citation omitted).




                                                 7
Case 23-12825-MBK        Doc 713     Filed 06/06/23 Entered 06/06/23 21:58:44               Desc Main
                                   Document      Page 8 of 15



       21.      Substantial contribution awards are granted only in “rare and extraordinary

 circumstances.” Leidos Rng’g, LLC v. KiOR, Inc. (In re KiOR Inc.), 567 B.R. 451, 459 (internal

 quotation marks omitted). Accord RS Legacy, No. 15-10197, 2016 WL 1084400, at *4 (Bankr. D.

 Del. March 17, 2016). “[T]he benefit received by the estate must be more than an incidental one

 arising from activities the applicant has pursued in protecting his or her own interests.” Lebron,

 27 F.3d at 944. Under Third Circuit precedent, there must be a “demonstrable benefit to the

 debtor’s estate and the creditors,” id. (internal quotation omitted), because of “the concern that

 administrative claims deplete the bankruptcy estate’s assets.” In re Energy Future HLDGS. Corp.,

 No. 19-3492, 2021 WL 957301 at *10 (3d Cir. March 15, 2021). The benefit “must be actual, not

 hypothetical,” id. (emphasis in original), thus “a hindsight-based analysis of the benefit to the

 estate requirement is appropriate,” id. at *12. See also KiOR, 567 B.R. at 458 (“The substantial

 contribution test is applied in hindsight and scrutinizes the actual benefit to the case.”). In

 determining whether a creditor has made a substantial contribution, “the court should weigh the

 cost of the claimed fees and expenses against the benefits conferred upon the estate which flow

 directly from those actions.” 5 Hall Fin. Grp., Inc. v. DP Partners Ltd. (In re DP Partners, Ltd.),

 106 F.3d 667, 673 (5th Cir. 1997).

        22.     By its nature, a substantial contribution claim is retrospective only, not prospective.

 There is no way to approve a substantial contribution claim before a bankruptcy case is largely

 concluded because no substantial contribution has been made and no claim exists. Moreover, the

 award of fees and expenses for making a substantial contribution must be reasonable, and that

 determination cannot be made prospectively either. Even if reasonableness could be determined



 5
  An additional issue is presented here because the payments do not relate to creditor action. As
 noted in the Verified Statement, the AHC Law Firms are not estate creditors and AHC Counsel
 does not represent any creditors.

                                                   8
Case 23-12825-MBK        Doc 713     Filed 06/06/23 Entered 06/06/23 21:58:44               Desc Main
                                   Document      Page 9 of 15



 in advance, the Debtor failed to explain why it would be reasonable for the estate to pay the AHC

 Law Firms and AHC’s Counsel.

        23.     At this stage of the case, it is a legal impossibility that anyone could have and prove

 a substantial contribution claim for reasonable fees and expenses, and the AHC should not be

 awarded one. The Bankruptcy Code contains no provision for interim payment of substantial

 contribution fees and expenses. Even if it were proper to award fees for a substantial contribution

 on a prospective basis, payment of the AHC Law Firms’ expenses may not be permissible. Section

 503(b)(4) only allows for the reimbursement of fees of attorneys and accountants. 11 U.S.C. §

 503(b)(4). “[T]he language of § 503(b)(4) (unlike § 330(a)(1)), limits compensation to attorneys

 and accountants only, rather than any professional. Accordingly, reimbursement for Seidman's

 [the financial advisor’s] services must be disallowed.” Matter of Baldwin-United Corp., 79 B.R.

 321, 341 (Bankr. S.D. Ohio 1987). Thus, AHC Law Firm expenses for anything other than

 attorneys’ or accountants’ fees can never be awarded under Section 503(b)(4) as a matter of law.

      B. The General Provisions of Section 363 Cannot Be Used to Circumvent the Specific
         Provisions of Section 503(b).

        24.     The United States Supreme Court has held that “in all matters of statutory

 construction, the court must begin with ‘the language itself [and] the specific context in which

 that language is used.’” McNeill v. United States, 131 S.Ct. 2218 (2011) (quoting Robinson v.

 Shell Oil Co., 519 U.S. 337, 341 (1997)); see also Lamie v. United States, 540 U.S. 526, 534

 (2004) (“[W]hen the statute’s language is plain, the sole function of the courts – at least where

 the disposition required by the text is not absurd – is to enforce it according to its terms.”).

        25.     The Supreme Court also has ruled, including when applying the Bankruptcy Code,

 that a specific statutory provision governs a general one. E.G., RadLAX Gateway Hotel, LLC v.

 Amalgamated Bank, 566 U.S. 639, 645 (2012). In RadLAX, the Supreme Court recited the well-


                                                   9
Case 23-12825-MBK         Doc 713 Filed 06/06/23 Entered 06/06/23 21:58:44                 Desc Main
                                 Document    Page 10 of 15



 reasoned rule that:

                We find the debtors’ reading of § 1129(b)(2)(A)—under which
                clause (iii) permits precisely what clause (ii) proscribes—to be
                hyperliteral and contrary to common sense. A well established canon
                of statutory interpretation succinctly captures the problem: “[I]t is a
                commonplace of statutory construction that the specific governs the
                general.” (citation omitted). That is particularly true where, as in §
                1129(b)(2)(A), “Congress has enacted a comprehensive scheme
                and has deliberately targeted specific problems with specific
                solutions.”

 Id. (citation omitted) (emphasis added). 6

        26.     The Third Circuit adheres to this approach. See Kannikal v. Attorney General US,

 776 F.3d 146, 1355 (2d Cir. 1996) (citing both Morales and RadLAX with respect to the specificity

 of Title VII's limitations scheme over a more general section of Title VII stating “[I]t is a

 commonplace of statutory construction that the specific governs the general . . .” Morales, 504

 U.S. at 384.

        27.     As in RadLAX, so, too, here. Congress targeted a specific problem— payment of

 reasonable fees and expenses for ad hoc committees making a substantial contribution—with a

 specific solution—Sections 503(b)(3)(D) and 503(b)(4) of the Bankruptcy Code. An ad hoc

 committee can have its fees and expenses paid but only after giving notice to creditors and after

 proving to a court that it made a substantial contribution to a case and that its fees and expenses

 are reasonable. The parties cannot evade the mandatory statutory scheme by agreement: “the

 federal scheme cannot remain comprehensive if interested parties and bankruptcy courts in each



 6
  See also Morales v. Trans World Airlines, Inc., 504 U.S. 374, 384 (1992); Gozlon-Peretz v.
 United States, 498 U.S. 395, 407 (1991) (specific statutory provision normally controls one of
 more general application); Bloate v. United States, 130 S.Ct. 1345, 1353-1354 (2010) (same));
 Radzanower v. Touche Ross & Co., 426 U.S. 148, 153 (1976) (“Where there is no clear intention
 otherwise, a specific statute will not be controlled or nullified by a general one, regardless of
 priority of enactment.”) (quoting Morton v. Mancari, 417 U.S. 535, 550-51 (1974)).

                                                  10
Case 23-12825-MBK         Doc 713 Filed 06/06/23 Entered 06/06/23 21:58:44                Desc Main
                                 Document    Page 11 of 15



 case are free to tweak the law to fit their preferences.” Lehman, 508 B.R. at 294.

        28.     Further, the Supreme Court has articulated that a statutory provision should not be

 construed to render any other provision of the statute superfluous. See Turner v. Rogers, 131 S.

 Ct. 2507, 2522 (2011) (“The fact that one constitutional provision expressly provides a right to

 appointed counsel in specific circumstances indicates that the Constitution does not also sub

 silentio provide that right far more broadly in another, more general, provision.”).

        29.     When these traditional principles of statutory construction are applied to the issues

 before this Court, the resulting conclusion is that Section 503(b) is the only Bankruptcy Code

 section to directly address the issue of the payment of professionals for an ad hoc committee and

 is the only appropriate statutory provision under which this Court should consider the Motion. See

 Lehman, 508 B.R. at 294 (committee members seeking repayment of legal fees must seek

 reimbursement under Sections 503(b)(3)(D) and 503(b)(4)).

        30.     Lastly, a request for compensation under Section 503(b)(4) is akin to a professional

 fee application and thus is governed by similar requirements. See In re Worldwide Direct, Inc.,

 334 B.R. 112, 120 (Bankr. D. Del. 2005). Once it has been found that the particular creditor and/or

 professionals provided a substantial benefit or contribution to the estate, the next step is to

 determine if the fees and expenses are reasonable. The measured standards for reasonableness

 under Section 503(b)(4) are “the time, the nature, the extent, and the value of such services, and

 the cost of comparable services under this title.” These factors mirror the factors considered to

 determine reasonable compensation under Section 330(a)(3), and courts generally apply the same

 analysis and approach to fee requests under Section 503(b)(4) that are used for fee applications

 under Section 330. 7 A party making an application for fees under Section 330 bears the burden of


 7
  Another issue may be presented by the identity of one of the firms representing the AHC. In this
 case Cole Schotz seeks to pursue the interests of talc claimants through its representation of the

                                                  11
Case 23-12825-MBK         Doc 713 Filed 06/06/23 Entered 06/06/23 21:58:44                   Desc Main
                                 Document    Page 12 of 15



 establishing the reasonableness of the fees and to meet that burden, the party must, among other

 things, submit sufficiently detailed time records such that the court can determine whether the fees

 and expenses requested are reasonable. While the Motion and Reimbursement Agreement provide

 that Professionals will file monthly fee applications, there is no provision regarding the manner of

 payment of the Law Firm Members’ expenses.

        31.     The Debtor and the AHC must comply with Section 503(b) at the conclusion of the

 case when the Court can determine for itself whether a substantial contribution has been made and

 whether the compensation sought is reasonable.

      C. The Motion Cannot be Approved Pursuant to Section 363.

        32.     Section 363(b) cannot override other specific provisions of the Bankruptcy Code.

 For example, debtors cannot retain and pay their chosen professionals under Section 363 unless

 those professionals have been retained under Section 327 and have filed fee applications that

 have been approved. Section 363(b) allows a debtor-in-possession (subject to court approval)

 to use, sell or lease, other than in the ordinary course of business, property of the estate, but not

 at the point that such activity is governed by another section of the Code. 8



 AHC. In the bankruptcy case of Whittaker, Clark & Daniels, Inc., et al., Case No. 23- 13575
 (MBK), also pending before this Court, the Debtors have filed an application seeking to retain
 Cole Schotz as its co-counsel. See Case No. 23-13575, Dkt. 159. Upon information and belief,
 there is an overlap between claimants alleging talc related injuries against Whittaker and claimants
 alleging talc related injuries against the J&J Parties.

 8
   As part of its duty of candor to the Court, the U.S. Trustee notes that in a recent opinion the
 District of Delaware upheld a bankruptcy court ruling that authorized debtors to assume prepetition
 restructuring support agreements, pursuant to Section 365, and to enter into additional
 restructuring support agreements post-petition pursuant to Section 363. In re Mallinckrodt PLC,
 No. 21-167, 2022 WL 906459 (D. Del. March 28, 2022). The agreements obligated the debtors to
 pay ad hoc committee fees and the ad hoc committees to support the debtors’ proposed plan. Id.
 at 2022 WL 906459 *2 - *4. Debtors’ motions were supported by declarations and hearing
 testimony from its financial advisor AlixPartners. Id. The opinion of course is not binding on this
 Court. Further, it is also distinguishable in many ways, including the fact that the Mallinckrodt

                                                   12
Case 23-12825-MBK           Doc 713 Filed 06/06/23 Entered 06/06/23 21:58:44               Desc Main
                                   Document    Page 13 of 15



        33.        As courts have recognized, Section 363(b) is not a blank check for debtors to

 merely do whatever they want to do as there are statutory checks on that power that are designed

 to protect creditors and other parties’ rights. See, In re Lionel Corp., 722 F.2d 1063, 1069 (2d

 Cir. 1983) (holding that Section 363(b) does not grant judges carte blanche to use Section 363(b)

 to justify any action and to rule otherwise would have Section 363 swallow up other provisions

 of chapter 11.)

        34.        Notably, the only support offered by the Debtor for the relief sought is a copy of

 the Reimbursement Agreement. See Motion, Ex. A. However, under Section 363(b) the Debtor

 must articulate and prove a sound business judgment to gain approval of a non-ordinary course

 transaction. The Debtor has not met this burden and it has not provided, nor can it provide,

 evidence supporting its claim that entry into the Reimbursement Agreement is a sound exercise

 of its business judgment.

        35.        There are numerous reasons why the Debtor fails to meet its burden. First, the

 Debtor provides no certification of an officer or director supporting its business judgment claim.

 There is no evidence of who participated in making the relevant decisions nor the basis of the

 analysis. Second, neither the Motion or the Reimbursement Agreement outline the manner in

 which AHC Law Firms’ costs will be reimbursed, nor how parties in interest will be advised of

 the amounts.

        36.        The Reimbursement Agreement may be terminated by either the Debtor or the

AHC for any reason (or no reason) upon notice to the other party. The Debtor’s ability to terminate

the Reimbursement Agreement must be carefully considered in the context of the fiduciary duties

the AHC Law Firms owe their clients. Also, at any point the AHC can walk away with no


 debtors offered evidence to support their business judgment and in return for the payment of fees
 received plan support.

                                                   13
Case 23-12825-MBK         Doc 713 Filed 06/06/23 Entered 06/06/23 21:58:44                 Desc Main
                                 Document    Page 14 of 15



settlement having been reached and no plan approved. The Debtor’s payment of fees and costs

may be of little to no benefit to the estate. Congress set forth in Section 503(b) the standard to be

applied in such settings - payment of such fees should be limited to instances where a creditor can

prove after the fact that a substantial contribution was made to the estate.

        37.      In any event, this perversion of the substantial contribution process through post-

petition contracts is not what Congress envisioned or specified when it enacted the substantial

contribution requirement for ad hoc committees in Section 503(b). The Debtor and the AHC must

comply with Section 503(b) at the conclusion of the case when the Court can judicially determine

for itself whether a substantial contribution has been made and whether the compensation sought

is reasonable.     Any other result undermines and countermands the Bankruptcy Code’s

comprehensive statutory scheme.

        38.      The U.S. Trustee reserves any and all rights, duties and obligations found at law,

 equity or otherwise.

        WHEREFORE, for the foregoing reasons, the U.S. Trustee respectfully requests that the

 Court deny the Motion and grant such other and further relief that is deemed just and equitable.


 Dated: June 6, 2023                           Respectfully submitted,

                                               ANDREW R. VARA
                                               UNITED STATES TRUSTEE
                                               REGIONS 3 & 9

                                               By:      /s/ Jeffrey M. Sponder
                                                       Jeffrey M. Sponder
                                                       Trial Attorney
                                                       Lauren Bielskie
                                                       Trial Attorney
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Case 23-12825-MBK   Doc 713 Filed 06/06/23 Entered 06/06/23 21:58:44        Desc Main
                           Document    Page 15 of 15




                                           -and-

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